Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 1 of 23 Pageid#:
                                   19145




                    EXHIBIT 6
     Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 2 of 23 Pageid#:
                                        19146



From:                             Bolton, Eric
Sent:                             Monday, June 15, 2020 9:33 PM
To:                               jgravatt@dhdglaw.com; dhauck@dhdglaw.com; dcampbell@dhdglaw.com; jek318
                                  @gmail.com; isuecrooks@comcast.net; bryan@bjoneslegal.com;
                                  edward@rebrooklaw.com; dinuccilaw@outlook.com; azzmador@gmail.com;
                                  deplorabletruth@gmail.com; matthew.w.heimbach@gmail.com;
                                  christopher.cantwell@gmail.com; eli.f.mosley@gmail.com;
                                  dillon_hopper@protonmail.com; rebrooklaw@gmail.com
Cc:                               Levine, Alan; Siegel, Joshua; Roy III, Daniel P.
Subject:                          Sines v. Kessler, Case No. 17-cv-0072 (W.D. Va.)
Attachments:                      2020-06-15_Hopper Amended Notice of Intent to Serve Subpoenas.pdf

Categories:                       File eRoom


Gentlemen,

On behalf of Plaintiffs’ Counsel attached please find the amended notice of intent to serve subpoenas upon Dillon
Hopper. The deposition has been rescheduled for July 7, 2020 @ 9:30 a.m.

Sincerely

Eric Bolton
Cooley LLP




                                                           1
Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 3 of 23 Pageid#:
                                   19147




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,

                                  Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-
   KNIGHTS, LOYAL WHITE KNIGHTS OF THE
   KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.




             AMENDED NOTICE OF INTENT TO SERVE SUBPOENAS
Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 4 of 23 Pageid#:
                                   19148



        PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil

 Procedure, Plaintiffs, by and through their undersigned counsel, hereby provide notice that they

 intend to serve the attached Subpoenas to Testify at a Deposition in a Civil Action directed to

 Dillon Hopper, in his capacity as a Third-Party witness and Fed. R. Civ. P. 30(b)(6) witness for

 Defendant Vanguard America. The deposition will take place July 7, 2020, beginning at 9:30

 a.m., and will continue from day to day until completed. The deposition will take place via

 videoconference, as agreed upon by the parties. The deposition will be conducted before an

 officer authorized by law to administer oaths, will be recorded by stenographic means, and

 recorded by video means and through the instant visual display of the testimony. The deposition

 will be taken for the purposes of discovery and all other purposes permitted by the Federal Rules

 of Civil Procedure.

 Dated: June 15, 2020

                                                      /s/ Alan Levine
                                                      Alan Levine (pro hac vice)
                                                      Daniel P. Roy III (pro hac vice)
                                                      Amanda L. Liverzani (pro hac vice)
                                                      COOLEY LLP
                                                      55 Hudson Yards
                                                      New York, NY 10001
                                                      Telephone: (212) 479-6260
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                                                      droy@cooley.com
                                                      aliverzani@cooley.com




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Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 5 of 23 Pageid#:
                                   19149



 Of Counsel:

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  Julie E. Fink (pro hac vice)             Scott W. Stemetzki (VSB 86246)
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  Telephone: (212) 763-0883                Yotam Barkai (pro hac vice)
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  ecole@kaplanhecker.com                   ybarkai@bsfllp.com
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  dmills@cooley.com                        wisaacson@bsfllp.com
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                                           10 South Jefferson Street, Suite 1400
                                           Roanoke, Va. 24011
                                           Telephone: (540) 983-7600
                                           Fax: (540) 983-7711
                                           brottenborn@woodsrogers.com


                                           Counsel for Plaintiffs




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Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 6 of 23 Pageid#:
                                   19150



                                        CERTIFICATE OF SERVICE

         I hereby certify that on June 15, 2020, I served the foregoing upon following counsel and
 pro se defendants, via electronic mail, as follows:

  Justin Saunders Gravatt                                   James E. Kolenich
  David L. Hauck                                            Kolenich Law Office
  David L. Campbell                                         9435 Waterstone Blvd. #140
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  100 West Franklin Street, Suite 100                       jek318@gmail.com
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  jgravatt@dhdglaw.com                                      Elmer Woodard
  dhauck@dhdglaw.com                                        5661 US Hwy 29
  dcampbell@dhdglaw.com                                     Blairs, VA 24527
                                                            isuecrooks@comcast net
  Counsel for Defendant James A. Fields, Jr.
                                                            Counsel for Defendants Matthew Parrott,
  Bryan Jones                                               Traditionalist Worker Party, Jason Kessler, Nathan
  106 W. South St., Suite 211                               Damigo, and Identity Europa, Inc. (Identity Evropa)
  Charlottesville, VA 22902
  bryan@bjoneslegal.com                                     John A. DiNucci
                                                            Law Office of John A. DiNucci
  Counsel for Defendants Michael Hill,                      8180 Greensboro Drive, Suite 1150
  Michael Tubbs, and League of the South                    McLean, VA 22102
                                                            dinuccilaw@outlook.com
  W. Edward ReBrook
  The ReBrook Law Office                                    Counsel for Defendant Richard Spencer
  6013 Clerkenwell Court
  Burke, VA 22015                                           Robert Ray
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  rebrooklaw@gmail.com
                                                            Vanguard America
  Counsel for Defendants National Socialist Movement,       c/o Dillon Hopper
  Nationalist Front and Jeff Schoep                         dillon_hopper@protonmail.com

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                                                            deplorabletruth@gmail.com
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  christopher.cantwell@gmail.com


                                                               /s/ Alan Levine
                                                               Alan Levine (pro hac vice)
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                                                               Telephone: (212) 479-6260
                                                               Fax: (212) 479-6275
                                                               alevine@cooley.com

                                                               Counsel for Plaintiffs

                                                        4
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                                   19151




                             1 of 2
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      Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 9 of 23 Pageid#:
                                         19153
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $      .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
     Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 10 of 23 Pageid#:
                                         19154
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                    19156
     Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 13 of 23 Pageid#:
                                         19157
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $      .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
     Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 14 of 23 Pageid#:
                                         19158
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 15 of 23 Pageid#:
                                    19159




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,

                                  Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                 Defendants.




                  SECOND AMENDED NOTICE OF DEPOSITION
                    OF DEFENDANT VANGUARD AMERICA
Case 3:17-cv-00072-NKM-JCH Document 1150-6 Filed 10/04/21 Page 16 of 23 Pageid#:
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         PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

  Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon oral

  examination of Defendant Vanguard America at 9:30 a.m. on July 7, 2020, and continuing from

  day to day until completed. The deposition will take place via videoconference, as agreed upon

  by the parties, or at such other location, date, method and time as may be mutually agreed upon by

  the parties. The deposition will be conducted before an officer authorized by law to administer

  oaths, will be recorded by stenographic means, and recorded by video means and through the

  instant visual display of the testimony. The deposition will be taken for the purposes of discovery

  and all other purposes permitted by the Federal Rules of Civil Procedure.

         NOTICE IS FURTHER GIVEN that, pursuant to Rule 30(b)(6) of the Federal Rules of

  Civil Procedure, Vanguard America shall designate one or more officers, directors, or managing

  agents, or other persons to testify on its behalf with respect to the matters designed in Exhibit A,

  attached hereto.

  Dated: June 15, 2020

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                                              EXHIBIT A

         In accordance with FRCP 30(b)(6), Plaintiffs designate the matters identified below for

   examination. In construing these topics, the following instructions and definitions shall apply:

  Definitions

         1.      “Amended Complaint” means the Second Amended Complaint filed in the above-

   captioned litigation as ECF docket entry number 557.

         2.      “Communication” means, in addition to its customary and usual meaning, every

   contact of any nature, whether documentary, electric, written, or oral, formal or informal, at any

   time or place and under any circumstances whatsoever whereby information of any nature is

   transmitted or transferred by any means, including but not limited to letters, memoranda, reports,

   emails, text messages, instant messages, social media postings, telegrams, invoices, telephone

   conversations, voicemail messages, audio recordings, face-to-face meetings and conversations,

   and any other form of communication or correspondence. Without limiting the foregoing in any

   manner, commenting as well as any act of expression that is not directed at a specific person, or

   otherwise may not be intended to provoke a response (such as social media posting, “likes,”

   “shares,” or any other form of reacting to another’s use of Social Media), are forms of

   communication.

         3.      “Concerning” means, in addition to its customary and usual meaning, relating to,

   pertaining to, referring to, alluding to, confirming, constituting, comprising, containing,

   commenting upon, responding to, discussing, describing, embodying, evaluating, evidencing,

   identifying, in connection with, involving, mentioning, noting, pertaining to, probative of, related

   to, relating to, reflecting, referring to, regarding, setting forth, supporting, stating, showing,

   touching upon, dealing with, assessing, recording, bearing upon, connected with, in respect of,

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   about, indicating, memorializing, proving, suggesting, having anything to do with, contradicting,

   and summarizing in any way, directly or indirectly, in whole or in part, the subject matter referred

   to in the Deposition Topic.

         4.      “Document” or “Documents” means documents broadly defined in FRCP Rule 34,

   and includes (i) papers of all kinds, including but not limited to, originals and copies, however

   made, of letters, memoranda, hand-written notes, notebooks, work-pads, messages, agreements,

   rough drafts, drawings, sketches, pictures, posters, pamphlets, publications, news articles,

   advertisements, sales literature, brochures, announcements, bills, receipts, credit card statements,

   and (ii) non-paper information of all kinds, including but not limited to, any computer generated

   or electronic data such as digital videos, digital photographs, audio recordings, podcasts, Internet

   files (including “bookmarks” and browser history), online articles and publications, website

   content, electronic mail (e-mail), electronic chats, instant messages, text messages, uploads,

   posts, status updates, comments, “likes”, “shares”, direct messages, or any other use of Social

   Media, and (iii) any other writings, records, or tangible objects produced or reproduced

   mechanically, electrically, electronically, photographically, or chemically. Without limiting the

   foregoing in any way, every Communication is also a Document

         5.      “Events” means the occurrences and activities described in Paragraphs 44 to 334 of

   the Amended Complaint.

         6.      “Person” means any natural person and/or any other cognizable entity, including

   but not limited to corporations, proprietorships, partnerships, joint ventures, and/or associations,

   whether formal or informal.

         7.      “Social Media” means any forum, website, application, or other platform on which

   persons can create, transmit, share, communicate concerning, or comment upon any information,



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   ideas, or opinions, or otherwise engage in social networking. Without limiting the foregoing in

   any manner, and by way of example only, the following are social media platforms: comment

   sections of websites, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan,

   8chan, Twitter, Tumblr, YouTube, and instant messaging services such as Signal, WhatsApp,

   Messenger, Hangouts, or Skype. Without limiting the foregoing in any manner, and by way of

   example only, the following are methods of using social media platforms: uploading, posting,

   commenting, reacting (e.g., “liking” a post), and sharing.

         8.      “Social Media Handle” means the unique identifier (whether a name, nickname,

   user name, avatar, image, or otherwise) associated with a user of Social Media. A Social Media

   Handle includes, for example, your unique Discord user handle including a four-digit number at

   the end of that handle.

         9.      “You,” “Your,” or “Yours” refers to the Defendants to whom the Deposition Topics

   are addressed and includes any persons or entities acting for them or on their behalf, including

   but not limited to all representatives, servants, agents, employees, officers, affiliates, subsidiaries,

   parent companies, third parties, attorneys, as well as any entities over which any of the

   Defendants have control.

  The deponent shall be prepared to address the following topics:

           1.    All steps taken by You to search for, collect, identify, produce, or withhold

   Documents in response to Plaintiffs’ discovery requests in this Action.

         2.      Your responses and objections to Plaintiffs’ Interrogatories, Requests for

  Production, and Requests for Admissions.

         3.      Your Answer to Plaintiffs’ Amended Complaint (ECF docket entry number 343),

  and all evidence supporting Your Answer.


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         4.      Your organizational structure, including Your governance structure, and the

  identities, job titles, and responsibilities of any officers, employees, agents, and independent

  contractors employed by You.

         5.      Your membership structure, including the identities of all members, any

  membership lists, any titles, any requirements for membership, and any means of communicating

  with and among Your members.

         6.      Your members’ use of Social Media, including but not limited to Discord, and any

  of Your members who were directed, authorized, encouraged, or otherwise permitted to speak on

  behalf of You on any Social Media platform.

         7.      The Social Media Handle for any of Your members in response to topic 6, including

  but not limited to Discord Social Media Handles.

         8.      The steps You took to prepare for the Events, including planning the Events with

  outside organizations and any planning that occurred within Your organization, and any

  Communications relating to such planning, including those relating to tactical, offensive, or

  defensive preparations for the Events.

         9.      Communications with Your members and members of outside organizations on

  May 13, 2017, before, during and after the Events.

         10.     Communications with Your members and members of outside organizations on

  July 8, 2017, before, during and after the Events.

         11.     Communications with Your members and members of outside organizations on

  August 11 and August 12, 2017, before, during, and after the Events.

         12.     Your involvement in the Events, and actions You and Your members took while

  participating in the Events.



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            13.   Communications with and Documents provided to Your members related to the

  Events.

            14.   Communications with and Documents provided to members of the media and the

  creation and content of any blogs, websites, or social media accounts promoting Your organization

  related to the Events.

            15.   Any Communications after August 12, 2017 relating to the Events on August 11-

  12, 2017, including Communications relating to the Event participants, the perceived success or

  failure of the Events, and the death of Heather Heyer.

            16.   Any Communications with Your members or members of outside organizations and

  any Documents relating to Your participation or nonparticipation in Unite the Right 2.0.

            17.   All Documents reviewed in preparation for this deposition, including an

  identification of all Documents that refreshed the deponent’s recollection.

            18.   The identity of all Persons with knowledge about topics 1-17.




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                                         CERTIFICATE OF SERVICE

          I hereby certify that on June 15, 2020, I served the foregoing upon following counsel and
  pro se defendants, via electronic mail, as follows:

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